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     Eastern Livestock Co., LLC
     Analysis of Cash Receipts; Through May 13, 2011
     Exhibit A to Trustee's Purchase Money Report

                                                                               Proceeds to be
                                                             Total Paid and    Transferred to
                                                             Held in Holding     Operating
       Date                            Payor                    Account           Account                           Comments
 1   12/13/10      Thomas Brothers                                     58.13             58.13
 2   12/13/10      Bowie Livestock Commission                       1,210.90         1,210.90
 3   12/13/10      Blue Grass Stockyard of Campbellsville           3,534.65         3,534.65
 4   12/13/10      Sam Countiss                                    31,236.72        31,236.72
 5   12/13/10      Robert Dobbs                                    49,981.65        49,981.65
 6   12/13/10      Ogle Cattle                                     63,000.00        63,000.00
 7   12/13/10      Fort Scott Livestock Market                     99,129.88        99,129.88
 8   12/13/10      Superior Livestock Auction                    106,719.76        106,719.76
 9   12/13/10      Kentucky‐Tennessee L/S Mkt.                   150,008.53        150,008.53
10   12/13/10      Stephen Dilks                                 155,364.58        155,364.58
11   12/15/10      Brian Lovell                                       267.38           267.38
12   01/07/11      E 4 Cattle                                      14,000.00        14,000.00
13   01/07/11      Tim May farm                                  308,422.16        308,422.16
14   01/13/11      Superior Livestock                              18,159.20        18,159.20
15   01/13/11      Kentucky‐ Tenn. Livestock                       47,666.50        47,666.50
16   01/13/11      Superior Livestock                            192,871.56        192,871.56
17   01/13/11      Superior Livestock                            342,700.28                ‐   Subject to Superior Adversary (Mitch Worrell)
18   01/18/11      Jerry Thompson                                  54,782.96        54,782.96
19   01/18/11      Joe Thompson                                  193,603.79        193,603.79
20   01/27/11      Gary Robinson                                      132.71           132.71
21   01/27/11      Gary Robinson                                    4,976.49         4,976.49
22   01/27/11      Gary Robinson                                   42,832.00        42,832.00
23   01/27/11      Superior Livestock                              51,033.78        51,033.78
24   01/27/11      Superior Livestock                              60,861.14        60,861.14
25   01/27/11      Superior Livestock                              83,493.15        83,493.15
26   01/27/11      Superior Livestock                              98,465.22        98,465.22
27   01/27/11      South Coffeyville Stkyrd                      117,900.11        117,900.11
28   01/27/11      Stierwalt/Lightning Lvstk                     151,590.34        151,590.34
29   01/27/11      Superior Livestock                            169,650.97        169,650.97
30   01/27/11      Superior Livestock                            236,167.94        236,167.94
31   02/01/11      Superior Livestock                              42,060.01        42,060.01
32   02/01/11      Superior Livestock                              89,249.09        89,249.09
33   02/08/11      Texhoma Livestock                               75,555.32        75,555.32


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     Eastern Livestock Co., LLC
     Analysis of Cash Receipts; Through May 13, 2011
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                                                                          Proceeds to be
                                                        Total Paid and    Transferred to
                                                        Held in Holding     Operating
       Date                            Payor               Account           Account                           Comments
34   02/08/11      Superior Livestock                       112,570.61        112,570.61
35   02/08/11      Superior Livestock                       321,782.25        321,782.25
36   02/18/11      Gary Robinson                              19,292.38        19,292.38
37   02/18/11      Bar K Cattle                               54,240.28               ‐   Subject to Superior Adversary
38   02/18/11      Bryan Mosier                               79,658.39        79,658.39
39   02/18/11      Meyer Farms                                88,458.38        88,458.38
40   02/18/11      Harlan Feeders                             97,868.78        97,868.78
41   02/18/11      Len Miller                               148,172.53        148,172.53
42   02/22/11      Broughton Cattle                            2,777.73         2,777.73
43   02/22/11      Tim McCary/Lester Denny                     3,060.00         3,060.00
44   02/22/11      Feller & Co                                58,833.28        58,833.28
45   02/22/11      Schaller Brothers                          63,672.99        63,672.99
46   02/25/11      Scott Thompson                             15,189.40        15,189.40
47   02/28/11      Keith Varner                             277,640.19        141,396.14 $136,244.05 subject to Superior Adversary
48   03/01/11      Dinklage Feed Yard                       156,191.36        156,191.36
49   03/01/11      Nick Fowler                              171,576.30        171,576.30
50   03/04/11      E4 Cattle                                   8,747.00         8,747.00
51   03/04/11      Ranchland Livestock                        17,983.88        17,983.88
52   03/04/11      Thornberry Brothers                        63,484.08         2,404.70 $61,079.38 subject to Superior Adversary
53   03/04/11      Harry Shelton Livestock                    73,292.18        73,292.18
54   03/04/11      Ecco 1, LLC                              212,128.43        212,128.43
55   03/07/11      Transfer from Fifth Third                331,752.03        331,752.03 BACA
56   03/09/11      Producers Livestock Marketing                  18.12             18.12
57   03/09/11      La Junta Livestock Comm.                   39,059.63        39,059.63
58   03/09/11      Pawnee Valley Feed Yard                    55,145.38        55,145.38
59   03/09/11      Lueken Dairy Farm                          83,284.20        83,284.20
60   03/10/11      AG Partners                                51,779.05        51,779.05
61   03/11/11      Tri‐County Electric                           348.21           348.21 Refund
62   03/11/11      Doug Sunderman                             55,051.70        55,051.70
63   03/11/11      Doug Sunderman                             58,374.53         1,629.63 $56,744.90 subject to Superior Adversary
64   03/11/11      Doug Sunderman                           107,660.36        107,660.36
65   03/11/11      Doug Sunderman                           107,977.54        107,977.54
66   03/11/11      Doug Sunderman                           131,347.39        131,347.39


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     Eastern Livestock Co., LLC
     Analysis of Cash Receipts; Through May 13, 2011
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                                                                          Proceeds to be
                                                        Total Paid and    Transferred to
                                                        Held in Holding     Operating
       Date                            Payor               Account           Account                          Comments
67   03/11/11      Doug Sunderman                           168,283.51        168,283.51
68   03/15/11      Donica Livestock                           47,356.50        47,356.50
69   03/15/11      CA Cattle Company                          50,582.62        50,582.62
70   03/25/11      Mark Hohenberger                           42,289.76        42,289.76
71   03/25/11      Baca County Feed Yard                    693,094.23        400,072.44 $293,021.79 subject to Superior Adversary
72   03/29/11      Mark Hohenberger                           24,325.93        24,325.93
73   03/31/11      Paula J. Holloway                             452.71           452.71
74   03/31/11      Kirkland AG Credit, Inc.                    5,588.40         5,588.40
75   03/31/11      Paco Feed Yard                             42,104.00        42,104.00
76   03/31/11      Dean Cluck Feedyard                        52,254.85        52,254.85
77   04/05/11      Tom Fellhauer                               9,103.83         9,103.83
78   04/08/11      Nutritional Advances, Inc.                 53,807.00        53,807.00
79   04/08/11      P & R Livestock                            60,000.00        60,000.00
80   04/08/11      Steve Krajicek                           326,679.71        274,119.71 $52,560.00 subject to Superior Adversary
81   04/12/11      Baca County Feedyard                        1,316.14         1,316.14
82   04/20/11      Blue Grass Stockyards                       3,244.46         3,244.46
83   04/22/11      Irsik & Doll                               59,473.67        59,473.67
84   04/29/11      Ralph Hoodenpyle                         675,544.35        333,987.06 $341,551.29 subject to Superior Adversary
85   05/03/11      P & R Livestock, Inc.                      60,000.00        60,000.00
86   05/06/11      Bellar Feed Lots                         100,000.00                ‐  Subject to Superior Adversary
87   05/09/11      Dean Cluck Feedyard                        67,888.32        67,888.32
88   05/10/11      Pawnee Feed Lot                            26,141.11        26,141.11
                                                          8,694,636.56      7,256,488.59




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